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                          UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF WASHINGTON
                                   AT SEATTLE

UNITED STATES OF AMERICA,        )
                                 )                 NO.    CR08-082RSL
                 Plaintiff,      )
                                 )
           v.                    )                 PROTECTIVE ORDER
                                 )
SHAWN VANELL PIPER, et al.,      )
                                 )
                 Defendants.     )
________________________________ )

       This matter having come to the Court’s attention on the United States’s Motion for

Entry of Discovery Protective Order, and the Court, having considered the government’s

motion, any objections submitted by the defendants, and the entirety of the record and

being fully advised in this matter, hereby enters the following

DISCOVERY PROTECTIVE ORDER:

       1.        Permissible Disclosure of Protected Material.

       The following documents and materials are deemed Protected Material. The

United States will make available copies of the Protected Material, including those filed

under seal, to defense counsel to comply with the government’s discovery obligations:

                 a.    Transcripts of wiretap and other audio recordings

                 b.    Grand Jury transcripts and exhibits

                 c.    Wiretap and other audio recordings

                 d.    Video recordings and photographs


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                 e.    Law enforcement reports

                 f.    Witness statements

                 g.    Wiretap and search warrant pleadings.

         Possession of copies of the Protected Material is limited to the attorneys of record,

the defendants, and investigators, paralegals, law clerks, experts and assistants for the

attorneys of record (hereinafter collectively referred to as "members of the defense

team"). Defendants, their attorneys of record, and members of the defense team may

show, play, or otherwise reveal the contents of Protected Material as they see fit; this

paragraph simply precludes the duplication or provision of copies to persons other than

the defendants, their attorneys of record, or members of the defense team. The United

States Attorney’s Office for the Western District of Washington is prohibited from

providing copies of the Protected Material to non-law enforcement witnesses or potential

witnesses. Any violation of these prohibitions constitutes a violation of the Protective

Order.

         Further, the attorneys of record are required, prior to disseminating any copies of

the Protected Material to the defendants and other members of the defense team, to

provide a copy of this Protective Order to the defendants and members of the defense

team, and obtain written consent by the defendants and members of the defense team of

their acknowledgment to be bound by the terms and conditions of this Protective Order.

The written consent need not be disclosed or produced to the United States unless

requested by the Assistant United States Attorney and ordered by the Court.

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       2.        Filing

       Any Protected Material that is filed with the court in connection with pre-trial

motions, trial, or other matter before this Court, shall be filed under seal and shall remain

sealed until otherwise ordered by this Court.

       3.        Nontermination

       The provisions of this Order shall not terminate at the conclusion of this

prosecution.

       4.        Violation of Any Terms of this Order

       Any violation of any term or condition of this Order by any defendant, their

attorney of record, any member of the defense team, or any attorney for the United States

Attorney’s Office for the Western District of Washington, may be held in contempt of

court, and/or may be subject to monetary or other sanctions as deemed appropriate by this

Court. If any defendant violates any term or condition of this Order, the United States

reserves its right to seek a sentencing enhancement for obstruction of justice, or to file

any criminal charges relating to the defendant’s violation.

       The Clerk of the Court is directed to provide a filed copy of this Protective Order

to all counsel of record.

       DATED this 30th day of April, 2008.



                                           A
                                           Robert S. Lasnik
                                           United States District Judge




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